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19                               SOUTHERN DIVISION
20
21   MELISSA AHLMAN, DANIEL KAUWE,                   Civil Case No.: 8:20-cv-835-JGB-SHK
     MICHAEL SEIF, JAVIER ESPARZA,
22
     PEDRO BONILLA, CYNTHIA
                                                     MEMORANDUM OF POINTS AND
23   CAMPBELL, MONIQUE CASTILLO,
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     ORTIZ, and DON WAGNER, on behalf of
                                                     CONCURRENTLY WITH
25   themselves and all others similarly situated,
                                                     DECLARATIONS; EXHIBITS;
26
            Plaintiffs,
27                                                   Date: May 18, 2020
            v.
                                                     Time: 9:00 AM
28
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     Sheriff of Orange County, California; and
 2   ORANGE COUNTY, CALIFORNIA                   Class Action
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 8   *pro hac vice application forthcoming
 9   **C.D. California admission application
     forthcoming
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 1                                    INTRODUCTION
 2         The COVID-19 pandemic has upended the nation, sickening over a million
 3   people, killing tens of thousands, and sending most Americans into isolation to avoid
 4   infection. People confined in the close quarters of jails, however, face a particularly
 5   high risk of infection unless corrections officials take reasonable and available steps
 6   to protect them. Orange County and its Sheriff have foregone critical measures
 7   recommended by the CDC for correctional facilities, putting thousands of vulnerable
 8   people in the Orange County Jail (“Jail”) at imminent risk of infection and death.
 9   All of the named Plaintiffs fear that they will fall gravely ill and may die. In Mr.
10   Wagner’s words, “I don’t want to get a life sentence by catching the virus and
11   dying.”1
12         Defendants have put everyone in the Jail at risk—particularly the Medically-
13   Vulnerable and Disability Subclasses—by failing to consistently or fully implement
14   necessary and feasible public health protections in the Jail. As of this filing, 259
15   people in the Jail have confirmed positive for COVID-19, out of 738 tests, and 159
16   results are still pending. 2 The number of positive tests has doubled in a week’s time.3
17   With nearly 3,000 detained people in the Jail, the true number of people infected is
18   likely much higher and will keep growing.4 The growing infection creates an
19   enormous risk, not just to those within the jail, but also to the surrounding Orange
20   County community, by contributing to the rapid spread of COVID-19 and creating
21   a debilitating burden on its healthcare delivery system. 5
22
     1
       Exhibit B, Wagner Decl. ¶ 21.
23   2
        Orange County Sheriff’s Department, COVID-19 in OC Jails (May 8, 2020),
24   https://www.ocsd.org/documents/sheriff/COVIDStats5.8.20.pdf.
     3
25       Orange County Sheriff’s Department, COVID-19 in OC Jails (Apr. 29, 2020),
     https://www.ocsd.org/documents/sheriff/COVIDStats4.29.20.pdf.
26   4
       Exhibit C, Parker Decl. ¶ 23.
     5
27     Id. ¶ 24.
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 1            The confinement of people under these life-threatening conditions violates the
 2   Eighth and Fourteenth Amendments to the U.S. Constitution, as well as the
 3   Americans with Disabilities Act (“ADA”) and the Rehabilitation Act. Only urgent
 4   action can remedy these serious violations that will lead to mass infection,
 5   complications, and even death of people in the Jail. Plaintiffs thus respectfully ask
 6   the Court to consider this Petition on an emergency basis, grant immediate releases
 7   for members of the Medically-Vulnerable and Disability Subclasses, and order the
 8   development of a plan to prevent further spread of COVID-19 within the Jail.
 9               I.     THE FACTS THAT NECESSITATE THIS PETITION
10            The Jail is the midst of a serious outbreak of COVID-19 with the number of
11   COVID cases increasing exponentially.             Without immediate intervention, the
12   outbreak will continue to escalate, threatening the lives of detained persons within
13   the Jail, corrections and medical staff at the Jail, and the surrounding community. 6
14             Once introduced into a jail, COVID-19 spreads quickly among those inside.
15       Jails are hotbeds for spread of COVID-19 because of: many people living in a
16       closed space; shared ventilation; common food preparation space; communal
17       living/bathing/toileting/eating; limited medical facilities; and limited ability to
18       leave the facility when symptomatic or after potential exposure to the virus.7
19       Moreover, jails are not closed environments; members of the community,
20       including both staff and incarcerated people, regularly move in and out of the
21       facility bringing illnesses with them into the jail or, after infection inside, out to
22
23
     6
24     Exhibit D, Goldenson Decl. ¶¶ 50-55; Ex. C, Parker Decl. ¶¶ 25, 31.
     7
       Ex. D, Goldenson Decl. ¶¶ 17-19; see Fraihat v. U.S. Immigration & Customs Enf't,
25   No. EDCV 19-1546-JGB (SHKx), 2020 WL 1932570 (C.D. Cal. Apr. 20, 2020));
26   Ernesto Torres, et al. v. United States Dep’t. of Homeland Sec., et al., EDCV 5:18-
     cv-2604, Dkt. No. 144 (C.D. Cal. April 11, 2020). .
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 1       the community. 8 Numerous public health experts recommend that jails downsize
 2       to reduce the risk of infection. 9 And courts around the country have responded to
 3       the serious risk to people confined in jails with inadequate protections by ordering
 4       their release and by requiring jails to implement measures to reduce the spread of
 5       COVID-19 within the jails. 10
 6
 7   8
       Ex. D, Goldenson Decl. at ¶¶ 33-34.
 8   9
       See Ex. C, Parker Decl.; Ex. D, Goldenson Decl.
 9   10
        See, e.g., Wilson v. Williams, No. 20-cv-00794, 2020 WL 1940882, at *10-11
10   (N.D. Ohio April 22, 2020) (ordering transfer of class of medically vulnerable
     people from large prison to their homes, community supervision or other facilities
11   capable of social distancing because of the prison’s failure to provide social
12   distancing and protections against COVID), denying motion to stay preliminary
     injunction, Case No. 20-3447 (6th Cir. May 4, 2020) (finding that plaintiff prisoners
13   properly invoked Section 2241); Roman v. Wolf, No. CV 20-768, 2020 WL 1952656,
14   at *12 (C.D. Cal. Apr. 23, 2020) (granting class-wide preliminary injunction and
     ordering Adelanto detention facility to immediately stop accepting new detainees
15   and to reduce detainee population to allow for social distancing, giving priority for
16   release to persons over the age of 55 and who are medically vulnerable), stay granted
     in part pending expedited appeal, Roman v. Wolf, No. 20-55436, 2020 WL 2188048
17   (9th Cir. May 5, 2020); In the Matter of the Request to Commute or Suspend County
18   Jail Sentences, Consent Order, at *2 (N.J. No. 084230 March 22, 2020) (consent
     order setting out the presumptive release of all people currently serving a county jail
19   sentence); Thakker v. Doll, No. 20-cv-480 (JEJ), Dkt. No. 47, 2020 WL 1671563, at
20   *21 (M.D. Pa. Mar. 31, 2020) (ordering release of detained petitioners in light of the
     detention facility’s inability to provide social distancing and proper hygiene, “the
21   only effective means by which we can stop the spread of COVID-19”); Savino v.
22   Souza, No. 20-10617-WGY, 2020 WL 1703844, at *1 (D. Mass. Apr. 8, 2020)
     (ordering availability of bail for individuals because petitioners are “held in tight
23   quarters and unable to keep safe distance from others who may – and with time,
24   inevitably will – carry the highly contagious virus)”; Fraihat v. Wolf, 20-cv-590,
     (C.D. Cal. Mar. 30, 2020); Castillo v. Barr, 20-cv-605, Dkt. No. 32, at *9 (C.D. Cal.
25   Mar. 27, 2020); Coronel v. Decker, No. 20-cv-2472 2020 WL 1487274, at *3
26   (S.D.N.Y. March 27, 2020); Basank v. Decker, 20-cv-2518, Dkt. No. 11, at *4
     (S.D.N.Y. Mar. 26, 2020) (“The risk that Petitioners will face a severe, and quite
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 1          Although the Jail has reduced its population since the first documented case,
 2    this reduction is not enough to protect individuals held at the Jail from the growing
 3    outbreak of COVID-19. Defendants’ own Correctional Health Services staff
 4    recommended that the population be reduced by 50% in all congregate living areas
 5    in order to promote social distancing, a goal Defendants have been unable to
 6    achieve.
 7          Members of the Medically-Vulnerable and Disability Subclasses face
 8    imminent risk of fatal infection at the Orange County Jail.11 COVID-19 is
 9    particularly dangerous to people who are older or have certain health conditions
10    and disabilities, including diabetes, lung disease, heart disease, and compromised
11    immune systems. 12     Incarcerated people disproportionately experience these
12
13   possibly fatal, infection if they remain in immigration detention constitutes
     irreparable harm warranting a TRO.”).
14   11
        Ex. D, Goldenson Decl. ¶ 48; Ex. C, Parker Decl. ¶ 19. The California Judicial
15   Council issued an emergency order on April 6th that took several measures to reduce
     jail populations, including adopting a statewide Emergency Bail Schedule that
16
     reduced bail to $0 for certain offenses. See Judicial Council of Cal., Judicial Branch
17   Administration: Emergency Rules in Response to the COVID-19 Pandemic (April
     6,                       2020),                      available                      at
18
     https://jcc.legistar.com/View.ashx?M=F&ID=8233133&GUID=4CE2DDDF-
19   426E-446C-8879-39B03DE418B3. Plaintiffs Ahlman, Kauwe, and Seif are not
     eligible for zero bail under the Emergency Bail Schedule, however, because their
20
     pending charges fall under exceptions set out in the rule. See id. at Emergency rule
21   4(c)(1), (11), (13); Exhibit E, Plaintiff Ahlman Record (charged with a felony
22   violation of 23152(A), exempted by 4(c)(11)); Exhibit F, Plaintiff Kauwe Records
     (charged with PC 451(B), exempted by 4(c)(1)); Exhibit G, Plaintiff Seif Records
23   (charged with a felony violation of PC 29800(A)(1), exempted by 4(c)(13)).
24   Additionally, it is imperative that Defendants take further action to reduce the Jail
     population given that Plaintiffs' court dates have been postponed for unspecified
25   periods of time while the courts are operating on a limited basis during the ongoing
26   pandemic.
     12
        Ex. D, Goldenson Decl. ¶ 27; Ex. C, Parker Decl. ¶ 19.
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 1    conditions, and so are “particularly vulnerable to severe illness from COVID-19.”
 2    United States v. Muniz, No. 4:09-CR-0199, 2020 WL 1540325, at *2 (S.D. Tex.
 3    Mar. 30, 2020). Defendants recognize that persons who are medically vulnerable
 4    are at heightened risk, and adopted a policy of granting releases to some sentenced
 5    persons with medical vulnerabilities. But Defendants have arbitrarily limited
 6    those releases to only those individuals who are within 60 days of the end date of
 7    their jail sentences, and then applied vague public safety criteria to whether to
 8    release even that category of individuals. Defendants refuse to even consider
 9    release of Medically Vulnerable individuals held on violations of probation or
10    parole (including technical violations).     According to Defendants' list of all
11    persons in the jail who are medically vulnerable to a COVID infection, there are
12    488 medically vulnerable people currently held in the Jail.
13          Defendants must take further measures to stop the spread of the disease—
14    not only to protect people in the Jail from harm, but also to prevent a major
15    outbreak that would overwhelm community medical resources. 13 The CDC has
16    announced several guidelines for prison and jails to limit the spread of COVID-
17    19.14 Quarantining is critical, for 14 days after intake and for symptomatic
18    individuals and their close contacts. Additionally, social distancing (requiring all
19    people to stay a minimum of six feet away from one another), frequent hand
20    washing with soap, and frequently cleaning and disinfecting shared surfaces are
21    essential to reducing the spread of the virus.15 Testing is another important
22
23
     13
        Ex. C, Parker Decl. ¶¶ 28-30
24   14
        Interim Guidance on Management of Coronavirus Disease 2019 (COVID-19) in
25   Correctional and Detention Facilities, Centers for Disease Control and Prevention
     (March           23,         2020),        https://www.cdc.gov/coronavirus/2019-
26   ncov/downloads/guidance-correctional-detention.pdf.
     15
27      Ex. D, Goldenson Decl., ¶¶ 2, 45.
28
                                               5
     Case 8:20-cv-00835-JGB-SHK Document 41-1 Filed 05/11/20 Page 14 of 35 Page ID
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 1    component, enabling jail officials to know who is infected so they can be
 2    quarantined from the general population.
 3         Defendants have failed to appropriately implement these safeguards.
 4   Defendants nonetheless assert that they are taking all necessary steps to protect
 5   people in the jail from COVID-19, and have made a number of factual
 6   representations to Plaintiffs about these alleged steps—some of which are
 7   extremely recent, only after Plaintiffs filed the complaint. 16 However, the actual
 8   practices in the jail continue to be dangerous:
 9        • Failure to Quarantine: Defendants have not uniformly quarantined new
10          arrivals at the Jail 17; and even when they do quarantine people, they place
11          many in unreasonably risky conditions. The Jail quarantines the close contacts
12          of confirmed COVID-19 cases in cohorts—a practice that is discouraged by
13          the CDC because it places uninfected individuals at risk.18 The Jail also
14          defeats the purpose of quarantines by mixing cohorts with each other.19 In the
15          case of at least one of these quarantines, the Jail’s ineffective quarantine
16          practices may have contributed to a major cluster of infections.20
17
18
     16
19      For example, on May 7, Defendants amended their list of screening questions for
     COVID-19 testing. Late last week, they also began to post signs stating that
20   detainees could request more hand soap. Exhibit H, Ramirez Decl. ¶ 13; Exhibit I,
     Trace May 9, 2020 Decl. ¶ 2; Exhibit J, Wagner May 8, 2020 Decl. (May 8) ¶ 6.
21   17
        Exhibit K, Seif Decl. ¶ 10 (stating that new incarcerated individuals are not tested
22   before being placed in his tier); Ex. B, Wagner Decl. ¶ 14 (describing a new inmate
     placed in his sector whose father was in the hospital with COVID-19).
23   18
        Ex. C, Parker Decl. ¶ 16; Ex. D, Goldenson Decl. ¶ 46.
     19
24      See Exhibit L, Miranda Decl. ¶¶ 22, 25; Exhibit. M, Esparza Decl. ¶ 7; Exhibit N,
     Godinez Decl. ¶ 11 (half of quarantined dorm moved to another module and then
25   mixed with new people).
     20
26      Ex. L, Miranda Decl. ¶¶ 8, 25; Ex. N, Godinez Decl. ¶¶ 8-9; Ex. D, Goldenson
     Decl. ¶ 45; Exhibit O, Farias Decl. ¶¶ 6-10; Exhibit P, Lentz Decl. ¶¶ 5-11.
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 1        • Lack of Social Distancing: In non-quarantined housing units at the Jail,
 2          Defendants have not implemented procedures to allow Plaintiffs and putative
 3          class members to socially distance from other people. Many people are in
 4          cells with as many as eight people to a cell. 21 In some barracks, Defendants
 5          have increased the density by adding several new individuals in recent days.22
 6          Plaintiffs and putative class members have constant, forced contact with many
 7          others who may have been exposed to COVID-19.23 People are forced to eat
 8          together, shower together, and to share common laundry and medicine
 9          delivery. Defendants frequently move people around the jail, increasing their
10          potential exposures.24
11   21
        Exhibit Q, Ahlman Decl. ¶¶ 7-8, 11-14 (describing her shared medical unit housing
12   with 12 beds only two feet apart); Ex. P, Lentz Decl. ¶ 12; Ex. H, Ramirez Decl. ¶
     19 (impossible to socially distance in two-person cells or accompanying dayroom).
13   22
        Ex. H, Ramirez Decl. ¶¶ 18 (in the past two days, barracks experienced rapid
     population increases that make it impossible to socially distance).
14   23
        Ex. L, Miranda Decl. ¶ 7; Ex. M, Godinez Decl. ¶ 6.; Exhibit R, Bonilla Decl. ¶¶
15   6-7 (held in two-person cell, approximately 8x12 feet and dayroom with 7 others
     where they use the phones one foot apart from each other); Exhibit S, Ortiz Decl. ¶¶
16   5-7; (in medical module with beds approximately two to three feet apart and the
     dayroom with chairs a foot apart from each other); Exhibit T, Hernandez Decl.¶¶ 6-
17   10, 30; Ex. H, Ramirez Decl. ¶¶ 21 (symptomatic individual transferred from
     quarantine to crowded barracks without being tested), 24 (symptomatic individual
18   who asserts he has COVID-19 was transferred into new unit, assigned an
19   asymptomatic cellmate, and is mingling with others in common area)
     24
        See Ex. L, Miranda Decl. ¶¶ 4, 6, 9-12 (moved to four different units since entering
20   custody on January 10, 2020, being exposed to individuals with COVID-19
     symptoms, and not being tested until four months later); Ex. Q, Ahlman Decl. ¶ 5
21   (being placed in overcrowded a holding tank that was only supposed to hold 10
     people); Ex. N, Godinez Decl. ¶¶ 7, 10-13 (transferred within jail units, including
22   being transferred from a module with exposure to individuals who had fevers and
23   COVID-19 symptoms to a new module without being tested for nearly a month
     despite having a persistent cough); Ex. S, Ortiz Decl. ¶¶ 18-19 (trip to the emergency
24   room for six hours returning without any quarantine or screening and the failure to
     quarantine new inmates in her medical module); Ex. K, Seif Decl. ¶ 9 (tier not tested
25   despite exposure to deputy who tested positive for COVID-19); Exhibit U, Herrera
     Decl. ¶¶ 6,10 (unit not tested despite being exposed to deputy who tested positive
26   for COVID-19); Ex. B, Wagner Decl. ¶ 14 (describing an inmate new person placed
     in his sector whose father was in the hospital with COVID-19); Exhibit V, Trace
27
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 1         • Inadequate Hygiene:       The Jail fails to provide sufficient hygiene and
 2           cleaning supplies at no cost to the detainees, providing 1-2 single use bars of
 3           soap once a week that barely last one day. This is not enough soap to wash
 4           their hands regularly and clean themselves. Although Defendants represent
 5           they have posted signs throughout the jail stating that detainees could request
 6           more hand soap (and Plaintiffs confirmed that these signs were newly posted
 7           in multiple units at the end of last week), this has not translated to more soap
 8           being provided in practice. When Plaintiffs requested the soap, deputies
 9           refused to provide it.25 Defendants also provide flimsy, improvised masks that
10           they must reuse for days and weeks without washing. 26         Defendants task
11           detainees with cleaning the cells vacated by other individuals who have
12           confirmed cases of COVID-19. Detainees are forced to carry out this high-
13           risk cleaning task without protective equipment like gloves or gowns. 27
14
15
     Decl. ¶ 15 (describing transfers of inmates people in and out of unit without
16   quarantine period); Ex. Q, Ahlman Decl. ¶¶ 21-22; Ex. N, Godinez Decl. ¶¶ 19, 21;
     Exhibit W, Cardone Decl. ¶ 14.
17   25
        Ex. H, Ramirez Decl. ¶ 13; see also Ex. I Trace Decl. (May 9, 2020) ¶ 2 (despite
18   new memo on wall about cleaning or hygiene, Mr. Trace asked for soap and was
     denied it, and he had only received one bar of soap for 9 days).
19   26
        See Ex. Q, Ahlman Decl. ¶ 18; Ex. R Bonilla Decl. ¶ 12; Ex. X, Baguiao Decl. ¶
20   13;Ex. W, Cardone Decl. ¶¶ 11-12; Exhibit Y, Castillo Decl. ¶ 17; Ex. T, Hernandez
     Decl. ¶ 24; Ex. U, Herrera Decl. ¶ 11; Exhibit Z, Kauwe Decl. ¶ 10; Ex. L, Miranda
21   Decl. ¶ 16; Ex. S, Ortiz Decl. ¶ 14; Exhibit AA, Saem Decl. ¶ 15; Ex. V, Trace Decl.
     ¶ 17; Ex. B, Wagner Decl. ¶ 18; Ex. O, Farias Decl. ¶ 12. Defendants have informed
22   Plaintiffs that they offer replacement laundered mask coverings of some kind every
     other day but that is inconsistent with recent reports from individuals in the Jail. See
23   Ex. H, Ramirez Decl. ¶¶ 10-11 & 14-15 (cloth masks not replaced for weeks), 17
     (cloth mask made from blood- and feces-stained sheets).
24
      27
        Ex. L, Miranda Decl. ¶ 10 (“Three days after the young man was removed the
25    guards instructed me and another inmate to clean out his belongings from his bunk.
26    We were not given gloves or masks.”); Ex. N, Godinez Decl. ¶ 12; Ex. P, Lentz
      Decl. ¶ 13 .
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 1        • Failure to Disinfect: The Jail does not properly disinfect high touch surfaces
 2           to prevent the spread of the virus.        Incarcerated people themselves are
 3           responsible for cleaning the pods, including the toilets and showers, but the
 4           Jail does not provide sufficient cleaning supplies. 28 Multiple declarants have
 5           testified that incarcerated workers are provided watered-down cleaning
 6           supplies or “dirty mop water,” instead of disinfectant to clean the showers and
 7           common rooms. 29 Defendants have not contested this except as to quarantine
 8           and medical isolation units.
 9        • Inadequate Testing and Isolation Practices: Despite California’s directive
10           prioritizing testing in jails, the Jail has failed to test or isolate detainees who
11           have COVID-19 symptoms, and until very recently, only a limited number
12           of detained individuals have been tested in the Jail.30 These testing practices
13           are plainly inadequate as they expose presumptively healthy detainees to
14           others with illness.31 Even when symptomatic individuals are tested, they
15           remain in the current housing units and are only moved to isolation after a
16           positive test result, contrary to public health guidance.32
17   28
        See Ex. Q, Ahlman Decl. ¶¶ 19-20; Ex. R, Bonilla Decl. ¶ 16; Ex. X, Baguiao
18   Decl. ¶ 14-15; Exhibit BB, Campbell Decl. ¶ 20; Ex. Y, Castillo Decl. ¶ 19; Ex. M,
     Esparza Decl. ¶ 12; Ex. N, Godinez Decl. ¶ 17; Ex. T, Hernandez Decl. ¶¶ 11-12;
19   Ex. L, Miranda Decl. ¶¶ 17, 24-25; Ex. V, Trace Decl. ¶ 18; Ex. B, Wagner Decl. ¶
     15; Ex. O, Farias Decl. ¶ 13; Ex. H, Ramirez Decl. ¶ 14 (three housing sectors must
20   use the same spray bottle of cleaning solution, which deputies keep behind a locked
     door and do not consistently permit detainees to use).
21   29
        Ex. K, Seif Decl. ¶ 13; see also, e.g., Ex. O, Farias Decl. ¶ 13; Ex. Y, Castillo
22   Decl. ¶ 19; Ex. I, Trace May 9, 2020 Decl. ¶ 3.
     30
23      See Ex. Q, Ahlman Decl. ¶ 17; Ex. V, Trace Decl. ¶ 9 (request for testing denied);
     Ex. T, Hernandez Decl. ¶¶ 13, 16; Ex. AA, Saem Decl. ¶ 10; Ex. B, Wagner Decl.
24   ¶ 9; Ex. P, Lentz Decl. ¶ 14.
     31
        Ex. C, Parker Decl. ¶ 17; Ex. H, Ramirez Decl. ¶ 20 (cellmates of symptomatic
25   individuals not quarantined).
26   32
        Ex. H, Ramirez Decl. ¶¶ 22 (symptomatic individual was tested but not
     quarantined pending results), 23 (in unit containing multiple symptomatic
27
28
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 1         Named Plaintiffs Pedro Bonilla, Mark Trace, Don Wagner, Cynthia
 2   Campbell, Monique Castillo, Cecibel Caridad Ortiz, Daniel Kauwe, and Michael
 3   Seif are all people with disabilities protected under federal law, and those disabilities
 4   place them at high risk of critical illness or death if exposed to COVID-19 because
 5   of their medical vulnerability. 33 For these medically vulnerable, disabled Plaintiffs,
 6   remaining in the Jail under these conditions increases the chance that they will
 7   develop COVID-19 and become either extremely ill or die as a result. 34 “Given the
 8   high likelihood of contagion and spread in the jail, the safety of these [medically
 9   vulnerable] individuals is a pressing emergency that needs to be addressed on an
10   urgent basis.”35
11                                     II. ARGUMENT
12         Given the dangerous conditions in the Jail, injunctive relief is warranted and
13   necessary to protect Plaintiffs and the classes they represent from being
14
     individuals, people were not transferred to medical isolation until receiving
15   positive test results).
16   33
        Mark Trace is a 53-year-old man who has multiple, significant health conditions
17   including sclerosis of the liver, Hepatitis C and D, asthma, tuberculosis, valley fever,
     and seizures that affect his breathing and lungs. Ex. V, Trace Decl. ¶ 8. Don Wagner
18   is a 68-year-old man who has scar tissue and a persistent cough after surviving
19   cancer four years ago, high blood pressure and a thyroid condition. Ex. B, Wagner
     Decl. ¶¶ 2, 7. Cynthia Campbell is a 64-year-old woman who has Rheumatoid
20   Arthritis, an autoimmune condition that attacks the joints, liver, kidneys, and heart.
21   Ex. BB, Campbell Decl. ¶¶ 2, 5. Monique Castillo is a 43-year-old woman who has
     Type 1 diabetes and anxiety. Ex. Y, Castillo Decl. ¶ 2, 7. Cecibel Caridad Ortiz is
22   a 31-year-old woman who has Type 1 diabetes and anxiety. Ex. S, Ortiz Decl. ¶¶ 2,
23   8. Pedro Bonilla is a 36 year-old man who was diagnosed with Hepatitis C, which
     he contracted during a previous period of imprisonment. Ex. R, Bonilla Decl. ¶¶ 2,
24   21-22. Daniel Kauwe is a 42-year-old man who is immunocompromised and has
25   fungal infections on his skin. Ex. Z, Kauwe Decl. ¶¶ 2, 13. Michael Seif is a 35 year
     old man who suffered a collapsed lung in June of 2018. Ex. K, Seif Decl. ¶¶ 2, 7-8.
26   34
        Ex. D, Goldenson Decl. ¶ 50.
     35
27      Ex. D, Goldenson Decl. ¶ 48.
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 1   unnecessarily exposed to and potentially dying from COVID-19. Plaintiffs meet all
 2   the requirements for injunctive relief because they are (1) likely to succeed on the
 3   merits, (2) will suffer irreparable harm in the absence of preliminary relief, (3) the
 4   balance of equities tips in their favor, and (4) an injunction is in the public interest.
 5   Winter v. Natural Res. Def. Council, 555 U.S. 7, 20 (2008).
 6         A.     Plaintiffs Are Likely To Prevail On The Merits Of Their
                  Constitutional And ADA Claims.
 7
 8         Defendants’ response to the dangerous conditions in the Jail is so deficient

 9   that it violates Plaintiffs’ rights under the Fourteenth Amendment, Eighth

10   Amendment, and the ADA and Rehabilitation Act. Each violation independently

11   satisfies a showing of likelihood of success on the merits. Here, Plaintiffs can

12   demonstrate that they will succeed under multiple theories.

13                1.     Defendants Have Violated Plaintiffs’ Constitutional Rights
                         To Protection From The Risks Of This Highly Contagious
14                       Disease.
15
16         Due to the conditions in the Jail, Plaintiffs could become ill or die, and

17   defendants’ failure to take appropriate precautions to protect both Plaintiffs who are

18   sentenced and pretrial detainees, violates their rights under the Eighth Amendment

19   and the Fourteenth Amendment. See Estelle v. Gamble, 429 U.S. 97, 104 (1976)

20   (Eighth Amendment); Bell v. Wolfish, 441 U.S. 520, 535 & n.16 (1979) (pretrial

21   detainees retain greater protections than convicted counterparts).

22         The only defense Class Members have against this novel, deadly disease is for
23   the Jail to implement all CDC guidelines and reduce populations to the level that
24   will allow for social distancing. And Defendants have been unwilling or unable to
25   do so. Defendants’ failure to release those members of the Medically Vulnerable
26   and Disability Subclasses whose release would not pose a danger to others creates
27   an untenable risk of serious injury and death. See Wilson v. Williams, 2020 WL
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                                                11
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 1   1940882, No. 4:20-cv-00794, at *1 (N.D. Ohio April 22, 2020) (granting
 2   preliminary injunctive relief and finding Defendants acted with deliberate
 3   indifference, where despite some proactive measures by Defendants, the prisoners
 4   were unable to socially distance and where the prison had “shockingly limited
 5   available testing…”).
 6          COVID-19 is “a global crisis” that heightens the risk for those in jails, one of
 7   “the most vulnerable groups among us.” Rose v. Baker, No. 17-15009, Dkt. 54 at 2
 8   n.1 (9th Cir. Apr. 9, 2020) (internal quotations omitted). Urgent court intervention
 9   is required. Tre McPherson, et al. v. Ned Lamont, et al., Civil No. 3:20-cv-534 (D.
10   Conn. May 6, 2020) (allowing Plaintiffs’ 2241 class action to proceed after finding
11   that   “exhaustion of state remedies would be futile, because, under current
12   conditions, Plaintiffs are at substantial risk of contracting the disease prior to
13   completing the exhaustion process”).36 For this reason, the Ninth Circuit has
14   36
        Plaintiffs have exhausted available administrative remedies under the Jail’s
15   official grievance process. See OCSD, Inmate/Detainee Grievance Procedure, §
     1600.5.1 (undated). Plaintiffs filed emergency grievances requesting release or,
16   alternatively, provision of adequate sanitation supplies, personal protective
     equipment, and space to be able to maintain at least 6 feet of distance from other
17   people. Several of the Plaintiffs received verbal denials of their grievances which
     deputies informed them were not logged as grievances in the Jail's system and were
18   not assigned a Jail Incident Number; because the grievance procedure instructs that
19   appeals can only be processed if they include the original grievance’s Jail Incident
     Number, these Plaintiffs have no other remedies available to them. See Exhibit CC,
20   Ortiz Grievance Decl.; Exhibit DD, Seif Grievance Decl.; Exhibit EE Esparza
     Grievance Decl.; Exhibit FF, Bonilla Grievance Decl.; Exhibit GG, Wagner
21   Grievance Decl.; see also Exhibit HH, Herrera Grievance Decl. One Plaintiff
     submitted a grievance that did not receive any response before his mental health
22   recently decompensated. Exhibit II, Jennifer Rojas Decl. Others received written
     denials, which they timely appealed; these appeals were either denied or never
23   received a response. See Exhibit JJ, Trace May 4, 2020 Grievance Decl.; Exhibit
     KK,, Trace May 5, 2020 Grievance Decl.; Exhibit LL Campbell Appeal Decl.;
24   Exhibit MM, Ahlman Appeal Decl.; Exhibit NN, Castillo Appeal Decl. Therefore,
     Plaintiffs have exhausted the available administrative remedies.See Andres v.
25   Marshall, 867 F.3d 1076, 1078 (9th Cir. 2017) (holding that where prison officials
26   improperly failed to process timely filed grievance, plaintiff exhausted available
     remedies).
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 1   recognized that incarcerated people face a “risk of serious consequences from the
 2   COVID-19 virus, up to and including death, because of [] underlying medical
 3   conditions.” Id.
 4         Defendants are well aware of the risks posed by COVID-19 infections. Those
 5   risks are “obvious” to anyone living in California, which has been under a state of
 6   emergency since March 4, 2020 and under shelter-in-place orders since March 19,
 7   2020. 37 Sheriff Barnes has repeatedly been warned of these risks, including by his
 8   own deputies.38 Despite these warnings, Defendants have not taken sufficient steps
 9   to curb the spread of disease, such as providing adequate amounts of soap,
10   decreasing contact between detainees, and adopting effective practices to disinfect
11   shared surfaces.39
12         The Eighth and Fourteenth Amendments require that Defendants take action
13   to protect people in their custody from communicable diseases. Putting confined
14   persons at risk of disease is a sufficiently cruel and “unsafe, life-threatening
15   condition” such that it can constitute “cruel and unusual punishment” under the
16
17
     37
            Cal.       Exec.     Order    No.        N-33-20   (March      19,      2020),
18   https://covid19.ca.gov/img/Executive-Order-N-33-20.pdf        (noting     state    of
19   emergency declared March 4, 2020).
     38
        See Letter from Jacob Reisberg and Daisy Ramirez, ACLU of Southern California,
20   to Sheriff-Coroner Donald Barnes, Re: COVID-19 Policy in Orange County Jails
     (Mar. 12, 2020) (ACLU So Cal warning sheriff of risks); Letter from Transforming
21   Justice, et al., to Sheriff Don Barnes, et al., Re: COVID-19 Containment in Orange
22   County Jails and Courthouses (Mar. 17, 2020) (multiple community organizations);
     Letter from Tom Dominguez, Ass’n of Orange County Deputy Sheriffs, to Sheriff
23   Don Barnes (Mar. 25, 2020) (deputies); Letter from Transforming Justice Orange
     County, et al., to Sheriff Don Barnes, et al., Re: COVID-19 in Orange County Jails
24   (Apr. 6, 2020) (multiple community organizations).
     39
        See Ex. Q, Ahlman Decl. ¶¶ 13, 18-20; Ex. BB, Campbell Decl. ¶¶ 10-11, 13-16,
25   20; Ex. Y, Castillo Decl. ¶¶ 8-11, 17-19; Ex. N, Godinez Decl. ¶¶ 6, 12, 15, 17, 19-
26   20; Ex. T, Hernandez Decl. ¶¶ 7-8, 10-12, 24, 27; Ex. V, Trace Decl. ¶¶ 16-18; Ex.
     B, Wagner Decl. ¶¶ 11-13, 15-18.
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 1   Eighth Amendment. Helling v. McKinney, 509 U.S. 25, 33 (1993). 40 Accordingly,
 2   the Constitution prohibits Jail officials from acting with deliberate indifference to
 3   the risks that people in their custody will suffer harm from infectious diseases.
 4   Estelle v. Gamble, 429 U.S. 97, 104 (1976); Farmer v. Brennan, 511 U.S. 825, 828
 5   (1994). Under the Eighth Amendment, officials act with deliberate indifference
 6   when they: (1) have subjective knowledge of the risks or those risks are “obvious,”
 7   and (2) fail to take reasonable action to abate those risks. Lemire v. Cal. Dep’t of
 8   Corr. & Rehab., 726 F.3d 1062, 1078 (9th Cir. 2013) (quoting Farmer, 511 U.S. at
 9   842); Delgado v. Barnes, 465 F. App’x 712, 712–13 (9th Cir. 2012). Under the
10   Fourteenth Amendment, only the objective prong of this test must be satisfied.
11   Kingsley v. Hendrickson, 135 S.Ct. 2466, 2473–74 (2015).41
12   40
        See also Trevizo v. Webster, No. 17-cv-5868-MWF-KS, 2018 WL 5917858, at *4;
13   (C.D. Cal. Sept. 6, 2018) (“It is well accepted that such substantial risks of harm
14   include exposure of inmates to a serious, communicable disease.”) (internal citation
     marks omitted) (quoting Helling, 509 U.S. at 33); Lopez v. McGrath, No. 04-cv-
15   4782 MHP, 2007 WL 1577893, at *5 (N.D. Cal. May 31, 2007) (“Courts have
16   recognized a broad range of diseases which may form the basis for a claim of
     deliberate indifference.”) (collecting cases); cf. Andrews v. Cervantes, 493 F.3d
17   1047, 1055–56 (9th Cir. 2007) (recognizing “imminent danger” posed to prisoners
18   by contagious “diseases [that] quite obviously cause serious health problems, and
     can result in death.”).
19   41
        Gordon v. Cty. of Orange, 888 F.3d 1118, 1124–25 (9th Cir. 2018), cert. denied
20   sub nom. Cty. of Orange, Cal. v. Gordon, 139 S. Ct. 794, 202 L. Ed. 2d 571 (2019)
     (holding this test applies to violations of right to adequate medical care). In Swain
21   v. Junior, the Eleventh Circuit held that because defendants did not “subjectively
22   believe[] the measures they were taking were inadequate” and there was no evidence
     that “defendants are ignoring or approving the alleged lapses in enforcement of
23   social-distancing policies,” plaintiffs did not satisfy the subjective prong of
24   deliberate indifference. See Swain v. Junior, No. 20-11622-C, 2020 WL 2161317, at
     *5 (11th Cir. May 5, 2020). The Swain decision conflicts with controlling Ninth
25   Circuit case law. For pre-trial detainees, subjective knowledge or intent is not
26   required. Gordon, 888 F.3d at 1124-25. For sentenced prisoners, the subjective
     prong of deliberate indifference requires two parts: (1) that prison officials were
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 1         These obligations include prevention, not merely treatment of those who
 2   contract the disease. Helling, 509 U.S. at 33–34; Parsons v. Ryan, 754 F.3d 657,
 3   676–77 (9th Cir. 2014) (rejecting defendants’ argument that Eighth Amendment
 4   only applies to “current serious health problems”). Failure to follow CDC guidance
 5   and other generally-accepted medical guidelines for disease prevention is evidence
 6   of deliberate indifference. Cameron v. Bouchard, No. CV 20-10949, 2020 WL
 7   1929876, at *2 (E.D. Mich. Apr. 17, 2020) (granting TRO based on jail’s failure to
 8   comply with COVID-19 guidance from CDC and other public health experts),
 9   modified on reconsideration, Cameron v. Bouchard, No. CV 20-10949, 2020 WL
10   1952836 (E.D. Mich. Apr. 23, 2020); Hernandez v. Cty. Of Monterey, 110 F. Supp.
11   3d 929, 942–45 (N.D. Cal. 2015) (finding that “known noncompliance” with CDC
12   tuberculosis guidelines “strongly indicates deliberate indifference to a substantial
13   risk of serious harm” and ordering officials to implement tuberculosis prevention
14   policies); cf, Valentine v. Collier, No. 20-20207, 2020 WL 1934431, *3-4 (5th Cir.
15   April 22, 2020) (staying injunctive relief for measures beyond CDC Guidance,
16   where plaintiffs did not contest that defendants were in compliance with CDC
17   Guidance). Any claim that is likely to succeed under the Eighth Amendment is
18   equally if not more likely to succeed under the Fourteenth Amendment. See id. at
19   1123–25.
20         Defendants’ actions fall far short of the constitutional requirements by failing
21   to protect detainees from unnecessary exposure to this potentially deadly virus.
22   Defendants’ duty requires that they protect the detainees in the Jail from the risk of
23
24
     either subjectively aware of the risk to people in custody or it was “obvious” to them,
25   and (2) the officials lacked a reasonable justification for exposing the people to that
26   risk. Lemire, 726 F.3d at 1078. In this case, Defendants are clearly aware of the risks
     of harm, and—whatever their personal beliefs may be—failed to take reasonable
27   action to abate those risks.
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 1   contracting this highly communicable disease. Yet Defendants have ignored this
 2   duty to Plaintiffs and the Class they seek to represent, who are at serious risk of
 3   severe illness or death from COVID-19. Plaintiffs are able to show a strong
 4   likelihood of success on the merits on this basis alone.
 5                2.      Defendants Are Unconstitutionally Punishing Members Of
 6                        The Pretrial Class.
 7         In addition to violating the Eighth and Fourteenth Amendment deliberate
 8   indifference standard for all Plaintiffs, Defendants’ failure to secure safe conditions
 9   constitutes an impermissible punishment for the Pretrial Class. See, e.g., Bell v.
10   Wolfish, 441 U.S. 520, 535 (“[U]nder the Due Process Clause, a detainee may not
11   be punished prior to an adjudication of guilt in accordance with due process of
12   law.”); id. at n.16 (people detained pretrial retain greater protections than convicted
13   counterparts). A jailer’s conduct constitutes punishment if it is either not rationally
14   related to a legitimate, nonpunitive government purpose or is excessive in relation
15   to that purpose. Bell, 441 U.S. at 561; Kingsley, 135 S. Ct. at 2473–74; Demery v.
16   Arpaio, 378 F.3d 1020, 1030–33 (9th Cir. 2004).
17         Defendants have no legitimate, nonpunitive purpose to keep pretrial Plaintiffs
18   and the other members of the Pretrial Class under these conditions. Choosing to
19   violate public health guidelines during a global pandemic is not rationally related to
20   goals of health, safety, or even cost efficiency. Because it arbitrarily inflicts harm,
21   courts may infer it is punitive. See Demery, 378 F.3d at 1032 (live webcams in jail
22   are punitive because they are not rationally related to legitimate goals of security or
23   public education).
24         Even if the Jail’s failure to follow accepted practices for preventing the spread
25   of COVID-19 had a legitimate, nonpunitive purpose, exposing pretrial detainees to
26   lethal risks is excessive for that purpose. For this reason, the California Judicial
27   Council issued advisories encouraging state courts to increase releases from jails,
28
                                               16
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 1   and the California Attorney General has clarified that county sheriffs have full
 2   statutory authority to release people from custody in response to the COVID-19
 3   emergency. 42
 4               3.     Defendants Have Violated The ADA and Rehabilitation Act
                        By Discriminating against the Disability Subclasses.
 5
 6         Defendants’ actions also violate the ADA and Rehabilitation Act. Title II of
 7   the ADA requires that public entities refrain from discriminating against qualified
 8   individuals on the basis of a disability. 42 U.S.C. § 12132. Section 504 of the
 9   Rehabilitation Act imposes parallel requirements on entities that receive federal
10   financial assistance. See Duvall v. Cty. of Kitsap, 260 F.3d 1124, 1135 (9th Cir.
11   2001). In order to avoid disability discrimination in Jail in this public health
12   emergency, the only reasonable modification and nondiscriminatory method of
13   administration is release of the Disability Subclasses.
14          Plaintiffs and class members in the disability subclasses are protected people
15   with disabilities under the ADA and Section 504. 42 U.S.C. § 12102(1)(A), (2)(B),
16   28 C.F.R. § 35.108(d)(2)(iii). Plaintiffs and class members are “qualified” for
17   Defendants’ programs, services, and activities, including adjudication of their cases;
18   safe, constitutional living conditions during confinement; and medical care and
19   rehabilitative services to prepare for reentry after release. 42 U.S.C. § 12131(2); 28
20   C.F.R. § 35.104; 28 C.F.R. § Pt. 35, App. B (“[T]itle II applies to anything a public
21
22   42
        See Advisory from California Chief Justice Tani Cantil-Sakauye to Presiding
23   Judges and Court Executive Officers of the California Courts (Mar. 20, 2020),
     https://newsroom.courts.ca.gov/news/california-chief-justice-issues-second-
24
     advisory-on-emergency-relief-measures; Attorney General of California,
25   Information Bulletin: COVID-19 and Statutory Authority Under Government Code
     Section                8658               (Apr.              14,            2020),
26
     https://oag.ca.gov/sites/all/files/agweb/pdfs/publications/2020-dle-05.pdf.
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 1   entity does”). The Jail is a “public entity” for purposes of the ADA, and is bound to
 2   comply with Title II. 42 U.S.C. § 12131(B).
 3          Public entities must take affirmative steps to ensure that people with
 4   disabilities can participate in all of the entity’s programs, benefits, and services on
 5   an equal and equally safe basis as people without disabilities.                28 C.F.R.
 6   §§ 35.102(a), 35.130(a), (b); Fraihat, 2020 WL 1932570, at *26-27 (C.D. Ca. Apr.
 7   20, 2020); Pierce v. District of Columbia, 128 F. Supp. 3d 250, 266, 269 (D.D.C.
 8   2015). These affirmative obligations include making reasonable modifications to
 9   their policies, practices, or procedures where necessary to avoid disability
10   discrimination. 28 C.F.R. § 35.130(b)(7)(i). The ADA also prohibits public entities
11   from “utiliz[ing] criteria or methods of administration … [t]hat have the effect of
12   subjecting qualified individuals with disabilities to discrimination on the basis of
13   disability” or “[t]hat have the purpose or effect of defeating or substantially
14   impairing accomplishment of the objectives of the public entity’s program with
15   respect to individuals with disabilities.” 28 C.F.R. § 35.130(b)(3)(i)-(ii).
16          The Disability Subclasses are entitled to reasonable modifications to ensure
17   they can participate equally and with equal safety in all activities, including the safe
18   adjudication of pretrial detainees’ pending criminal cases, constitutionally-adequate
19   care, medical treatment, and rehabilitative support during confinement. Disability
20   Subclass members cannot access these services if they are severely ill, unconscious,
21   or dead. See Fraihat, 2020 WL 1932570, at *26 (C.D. Ca. Apr. 20, 2020) (disabled
22   people in ICE detention entitled to reasonable accommodations in order to
23   participate in the “programmatic ‘benefit’” of the removal process). Given the fast-
24   moving, life-threatening nature of the COVID-19 pandemic, and its disproportionate
25   effect on the Disability Subclasses, immediate release is the only reasonable
26   modification. Defendants’ failure to release the Disability Subclasses violates the
27   ADA and the Rehabilitation Act.
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 1         Release of the disability subclasses is a reasonable modification and is not a
 2   fundamental alteration. Indeed, Defendant Barnes is already engaging in early
 3   releases as a result of COVID-19, but his actions have been insufficient to protect
 4   all medically vulnerable, disabled people for whom release is especially critical.43
 5   Cf. Henrietta D. v. Bloomberg, 331 F.3d 261, 281 (2d Cir. 2003). Release is also
 6   consistent with the Jail’s purposes, including administratively ensuring pretrial
 7   detainees show up for court, and preparing post-conviction detainees for safe,
 8   healthy release into their communities.
 9         B.     Plaintiffs Are Likely To Suffer Irreparable Harm, Including Death,
                  If This Court Does Not Issue The Requested Relief.
10
11         Plaintiffs are likely to suffer irreparable harm, including death, if they remain
12   incarcerated and Defendants maintain their existing policies and practices. Courts
13   “evaluate these factors via a ‘sliding scale approach,’ such that ‘serious questions
14   going to the merits’ and a balance of hardships that tips sharply towards the plaintiff
15   can support issuance of a preliminary injunction, so long as the plaintiff also shows
16   that there is a likelihood of irreparable injury and that the injunction is in the public
17   interest.” Arc of California v. Douglas, 757 F.3d 975, 983 (9th Cir. 2014) (citations
18   omitted). The nature of the potential risk to Plaintiffs--death--weighs heavily in
19   favor of granting emergency injunctive relief. 44 Further, if Defendants maintain
20   their current practices, COVID-19 will spread further into the Orange County
21   community and possibly more broadly.
22
23   43
        Ex. D, Goldenson Decl. ¶ 48.
24   44
         Further, courts find that a constitutional violation in itself amounts to an
     irreparable injury. See Northsworthy v. Beard, 87 F.Supp.3d 1164, 1193 (N.D. Cal.
25   2015) (finding the deprivation of a prison inmate’s Eighth Amendment right
26   “sufficient to establish irreparable harm”) (citing Elrod v. Burns, 427 U.S. 347
     (1976)).
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 1         Plaintiffs are locked inside an environment that the Defendants have failed to
 2   ensure is safe. Defendants have not fully complied with the CDC Guidelines. More
 3   detainees test positive each day, and infection rates are increasing exponentially.
 4   COVID-19 is highly contagious and potentially deadly; it can also cause severe
 5   health effects, including organ failure, even if the patient survives the infection.45
 6   Accordingly, courts have found that detained or incarcerated persons, especially
 7   those falling into higher risk categories, are able to show likelihood of irreparable
 8   harm. See, e.g., Bent v. Barr, No. 19-cv-06123-DMR, 2020 WL 1812850, at *6
 9   (N.D. Cal. April 9, 2020) (citing Coronel v. Decker, 2020 WL 1487274, at *3) (“Due
10   to their serious underlying medical conditions, all Petitioners face a risk of severe,
11   irreparable harm if they contract COVID-19.”)); Kaur v. U.S. Dep't of Homeland
12   Sec., No. 2:20-cv-03172-ODW (MRWx), 2020 WL 1939386, at *3 (C.D. Cal. Apr.
13   22, 2020) (Order Granting Pl.'s Mot. TRO) (citing Fraihat v. U.S. Immigration and
14   Customs Enf’t, No. EDCV 19-01546-JGB (SHKx), Dkt. No. 132 at 36 (C.D. Cal.
15   April 20, 2020) (Order Granting Pls.’ Mot. Prelim. Inj.)) (“Even in the early days of
16   the pandemic, and with few exceptions, courts did not hesitate to find irreparable
17   harm as a result of potential COVID-19 exposure in prison and detention, including
18   in facilities where there had not been a confirmed case. At this stage of the pandemic,
19   the threat is even clearer.”).
20         Plaintiffs who are Medically Vulnerable are at especially grave and highly
21   probable risk of irreparable harm. 46 Dr. Parker concluded that it is his professional
22
     45
23      Ex. C, Parker Decl. ¶ 6.
     46
        Vazquez Barrera v. Wolf, No. 4:20-CV-1241, 2020 WL 1904497, at *6 (S.D. Tex.
24   Apr. 17, 2020) (“Plaintiffs' alleged harm is both imminent and irreparable. The
     COVID-19 pandemic has reached every state in our nation, and the numbers of
25   infected and dead increase daily. According to the CDC, those with particular
26   medical vulnerabilities, including Plaintiffs, are particularly susceptible to serious
     illness and death. There is currently no vaccine or cure for COVID-19.”)
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 1   judgment that Medically Vulnerable individuals “are at greater risk of serious health
 2   consequences” and “face an imminent threat of death unless they are released.”47
 3   COVID-19 can cause severe health effects, including organ failure, even if the
 4   patient survives the infection. 48
 5         Immediate release of the Medically Vulnerable and Disability Subclasses is
 6   the only way to effectively mitigate the grave and imminent risk of harm to these
 7   Class Members from this highly contagious, lethal disease with no treatment and no
 8   cure.49 Without significant reductions in the jail population (as well as other
 9   mitigation measures), the disease will continue to spread in the jail.50 Thus,
10   continued detention will expose the Medically-Vulnerable and Disability Subclasses
11   to unacceptably high levels of lethal risk.51 There is, in other words, no set of
12   conditions of confinement at the Orange County Jail that, given the current infection
13   prevalence and community spread of COVID-19, would be able to comply with the
14   Constitution or the ADA or Rehabilitation Act for the Medically-Vulnerable and
15   Disability Subclasses.
16         For the other Class Members, the Sheriff’s refusal to undertake population
17   reduction measures of sufficient speed and scope is causing an interacting set of
18   failures that make it impossible for the Jail to meet the CDC Guidance. As one
19   example, the Jail cannot effectively quarantine people it incarcerates. Given the
20   current number and growth of cases, it is already unlikely that there are sufficient
21   numbers of single cells to carry out necessary isolation and quarantine procedures.52
22   47
        Ex. C, Parker Decl. ¶ 33.
23   48
        Id. ¶ 6.
     49
24      Ex. C, Parker Decl. ¶¶ 34-35; Ex. D, Goldenson Decl. ¶ 48.
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25      Ex. D, Goldenson Decl. ¶¶ 33-37.
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        Ex. C, Parker Decl. ¶ 33.
26   52
        Ex. D, Goldenson Decl. ¶¶ 43-44.
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 1   In the absence of adequate isolation and quarantine bedspace, the Jail will be forced
 2   to use more cohort quarantines, thus exposing more people to infection risks.53
 3         The increasing need for quarantine bedspace in turn puts additional pressure
 4   on available bedspace in other parts of the Jail, leading to greater movement and
 5   mixing that increases exposure risks.54 Because the Jail must reserve so much space
 6   for quarantines, officials have been consolidating increasingly large groups of
 7   people in dorms, making it even harder for non-quarantined individuals to socially
 8   distance. 55 As the number of confirmed and suspected cases grows and such
 9   crowding worsens, the only way to instantly create more available bedspace is to
10   reduce the jail population.
11         The only way to relieve pressure on the system and meet the simultaneous
12   needs for adequate quarantine beds, adequate social distancing, and adequate
13   hygiene, PPE, and testing is to reduce the number of people in the Jail.56
14          The likelihood of irreparable harm factor tips the scale in favor of emergency
15   injunctive relief. Without judicial intervention, some Plaintiffs, especially the
16   Medically Vulnerable and Disabled, may die or suffer serious illness. For some,
17   incarceration in the Orange County Jail will be a death sentence, without any of the
18   due process associated with that most final of punishments.
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24      Id at ¶¶ 45-46.
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25      Id at ¶ 47.
     55
        Ex. N, Godinez Decl. ¶¶ 6, 18-19; Ex. B, Wagner Decl. ¶¶ 6, 16-17; Ex. T,
26   Hernandez Decl. ¶¶ 6-10, 30.
     56
27      Ex. D, Goldenson Decl. ¶ 53.
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           C.     The Potential Harms To Plaintiffs Are Much Greater Than Any
 1
                  Speculative Harm Defendants May Assert, and the Public's
 2                Interest Favors the Requested Injunction.
 3         The threatened injury to Plaintiffs and putative Class Members—sickness up
 4   to and including organ failure and death—outweighs any theoretical injury posed by
 5   the requested Injunction to Defendants.
 6         Although Defendants may argue that releasing Plaintiffs somehow will impact
 7   public safety, any such impact pales in comparison to the potential human cost and,
 8   anyway, is purely speculative. Over a month ago, the California Judicial Council
 9   recommended early releases for more categories of people than Defendants are
10   currently considering for early release. Sheriff Barnes also has broad authority to
11   move or release people in his custody in order to protect them from the COVID-19
12   pandemic.    See California Government Code § 8658. That statutory authority
13   permits him to go well beyond what he has done thus far to protect those entrusted
14   to his care under § 8658, many of whom are still afforded the presumption of
15   innocence. The speculative risk that a person could commit a crime if released must
16   be weighed against the clear evidence that the longer Sheriff Barnes holds people in
17   the jail—particularly those in the Medically Vulnerable and Disability Subclasses—
18   the greater the risk that they will become infected and die.
19         Not only do detained people risk becoming sick themselves, but allowing
20   COVID-19 to spread in the Jail endangers the health of deputies, healthcare workers,
21   other staff, and attorneys visiting clients, as well as the health of their families.
22   Further, a continued outbreak in the Jail would strain hospital resources in the
23   Orange County community, potentially creating a humanitarian disaster. These
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 1   hospital resources are limited and are not equipped to handle the kind of outbreak
 2   that is likely to occur in the Orange County Jail without immediate intervention. 57
 3           The public interest thus leans heavily in favor of the requested injunction.
 4           D.    Plaintiffs’ Requested Relief
 5        Because Plaintiffs are likely to succeed on the merits, face risk of immediate
 6   harm, and the balance of harms weighs decidedly in their favor, Plaintiffs request:
 7           1.    Release of Medically-Vulnerable and Disability Subclass Members
 8           The members of the Medically-Vulnerable and Disability Subclasses all have
 9   health conditions, disabilities, or characteristics that cause them to be exceptionally
10   vulnerable to death or serious harm to their health if they contract COVID-19. The
11   Orange County Jail has identified, but not released, approximately 488 detainees
12   who are medically vulnerable and at heightened risk of serious infection and death.
13   All people on this list are in the Medically-Vulnerable Subclass. Most of the people
14   on this list are also in the Disability Subclasses, including people of any age who
15   have certain underlying medical conditions also have an elevated risk. 58 The
16   structure of the Jail makes it impossible to detain Medically-Vulnerable and
17   Disability subclass members in a constitutional manner during this pandemic.59
18   Given this, the Jail cannot consistently enforce social distancing and 20 second
19   handwashing by all incarcerated people (and all those who work at the Jail) in a
20   manner that would ensure the Medically-Vulnerable and Disability subclass
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22   57
        Ex. C, Parker Decl. ¶¶ 28-30; see Fraihat, 2020 WL 1932570, at *28 (“Plaintiffs
23   also attach evidence suggesting that a failure to protect the most vulnerable detainees
     could quickly overwhelm local hospitals with insufficient ICU beds or respirators,
24   diminishing the available health resources for all . . . If a preliminary injunction is
     entered, however, survival is maximized . . . .) (internal citations omitted).
25   58
        Coronavirus disease (COVID-19) advice for the public: Myth busters, World
26   Health Organization, https://cutt.ly/dtEiCyc (Last visited on Apr. 28, 2020).
     59
        Ex. D, Goldenson Decl. ¶¶ 44-48; Ex. C, Parker Decl. ¶¶ 11-19.
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                                                24
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 1   members would not be at risk of being infected with the virus. 60 Put simply,
 2   Defendants cannot ensure their health and safety within the Jail. Recognizing this
 3   grave risk to life, courts across the country have granted emergency habeas petitions
 4   ordering the release of medically-vulnerable and disabled people from confinement.
 5   The Defendants should establish release procedures to identify and release within 24
 6   hours all Medically-Vulnerability and Disability Subclass members unless there is
 7   proof of judicially-recorded findings by clear and convincing evidence that the
 8   individual poses such a risk of flight or danger to others that no other condition can
 9   mitigate that risk.
10            2.    A Mandatory Plan To Address The Jail’s COVID-19 Crisis
11            The Court also should order Defendants to submit a plan to the Court in three
12   (3) days and appoint a qualified public health expert under Fed. R. Evid. 706, as
13   further described in the Complaint.
14            3.    Implementing Constitutionally Sufficient Conditions at the Orange
                    County Jail.
15
16            Finally, the Court should order Defendants to take further steps to mitigate the
17   risk to Class Members who remain in the jail, including any additional releases that
18   are needed to prevent the further spread of COVID-19 in the jail.
19                                        CONCLUSION
20            For the foregoing reasons, this Court should grant this request for a
21   temporary restraining order and a preliminary injunction.
22
23   Respectfully submitted,
24   Dated: May 11, 2020
25
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27        Ex. C, Parker Decl. ¶¶ 18-19.
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